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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

 ADAMS RODRIGUEZ

        Plaintiff,
                                                    CASE NO.:
 -VS-

 WELLS FARGO BANK, N.A.,

        Defendant.
                                         /

                      COMPLAINT AND DEMAND FOR JURY TRIAL

         COMES NOW Plaintiff, Adams Rodriguez, by and through the undersigned

 counsel, and sues Defendant, WELLS FARGO BANK, N.A., and in support thereof

 respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. §

 227 et seq. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. §

 559.55 et seq. (“FCCPA”).

                                       INTRODUCTION

         1.          The TCPA was enacted to prevent companies like WELLS FARGO

 BANK, N.A. (hereinafter “Defendant”) from invading American citizen’s privacy and

 prevent abusive “robo-calls.”

         2.          “The TCPA is designed to protect individual consumers from receiving

 intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132

 S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).




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          3.        “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

 *1256 scourge of modern civilization, they wake us up in the morning; they interrupt our

 dinner at night; they force the sick and elderly out of bed; they hound us until we want to

 rip the telephone out of the wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings

 presumably intended to give telephone subscribers another option: telling the autodialers

 to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir.

 2014).

          4.        According     to the    Federal   Communications     Commission    (FCC),

 “Unwanted calls are far and away the biggest consumer complaint to the FCC with over

 200,000 complaints each year – around 60 percent of all the complaints…Some private

 analyses estimate that U.S. consumers received approximately 2.4 billion robocalls per

 month         in   2016.”      https://www.fcc.gov/about-fcc/fcc-initiatives/fccs-push-combat-

 robocalls-spoofing

                                  JURISDICTION AND VENUE

          5.        This is an action for damages exceeding Seventy-Five Thousand Dollars

 ($75,000.00) exclusive of attorney fees and costs.

          6.        Jurisdiction and venue for purposes of this action are appropriate and

 conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

 violations of the TCPA.

          7.        Subject matter jurisdiction, federal question jurisdiction, for purposes of

 this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

 district courts shall have original jurisdiction of all civil actions arising under the


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 Constitution, laws, or treaties of the United States; and this action involves violations of

 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

 and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014)

         8.      The alleged violations described herein occurred in Pinellas County,

 Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2)

 as it is the judicial district in which a substantial part of the events or omissions giving

 rise to this action occurred.

                                    FACTUAL ALLEGATIONS

         9.      Plaintiff is a natural person, and citizen of the State of Florida, residing in

 Pinellas County, Florida

         10.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

         11.     Plaintiff is an “alleged debtor.”

         12.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

 Cir. 2014).

         13.     Defendant is a corporation with its principal place of business located at

 420 Montgomery St., San Francisco, California, 94163 and which conducts business in

 the State of Florida through its registered agent, Corporation Service Company located at

 1201 Hays Street Tallahassee, Florida, 32301.

         14.     The debt that is the subject matter of this Complaint is a “consumer debt”

 as defined by Florida Statute §559.55(6).

         15.     Defendant is a “creditor” as defined in Florida Statute §559.55(5).



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        16.     Defendant called Plaintiff on Plaintiff’s cellular telephone approximately

 one hundred thirty (130) times in an attempt to collect a debt.

        17.     Defendant attempted to collect an alleged debt from Plaintiff by this

 campaign of telephone calls.

        18.     Upon information and belief, some or all of the calls the Defendant made

 to Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

 system” which has the capacity to store or produce telephone numbers to be called, using

 a random or sequential number generator (including but not limited to a predictive dialer)

 or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

 227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that he knew it was an

 autodialer because of the vast number of calls he received and because he heard a pause

 when he answered his telephone before a voice came on the line from Defendant.

        19.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

 number (443) ***-0461, and was the called party and recipient of Defendant’s calls.

        20.     Defendant placed an exorbitant number of automated calls to Plaintiff’s

 cellular telephone (443) ***-0461 in an attempt to collect a credit card debt.

        21.     Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified

 the calls were being initiated from, but not limited to, the following telephone numbers:

 (877) 673-2256, (800) 988-8019, and (877) 673-2256.

        22.     On or about September 2018, Plaintiff mailed and faxed a letter to the

 Defendant stating that he no longer wished for the Defendant to contact him by

 telephone.



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         23.     In that same letter, Plaintiff instructed the Defendant to route all

 communications through his attorney, to no avail.

         24.     Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice to individuals just as it did to Plaintiff’s

 cellular telephone in this case.

         25.     Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice just as it did to Plaintiff’s cellular telephone in

 this case, with no way for the consumer, Plaintiff, or Defendant, to remove the number.

         26.     Defendant’s corporate policy is structured so as to continue to call

 individuals like Plaintiff, despite these individuals explaining to Defendant they wish for

 the calls to stop.

         27.     Defendant has numerous other federal lawsuits pending against it alleging

 similar violations as stated in this Complaint.

         28.     Defendant has numerous complaints across the country against it asserting

 that its automatic telephone dialing system continues to call despite requested to stop.

         29.     Defendant has had numerous complaints from consumers across the

 country against it asking to not be called; however, Defendant continues to call the

 consumers.

         30.     Defendant’s corporate policy provided no means for Plaintiff to have his

 number removed from Defendant’s call list.

         31.     Defendant has a corporate policy to harass and abuse individuals despite

 actual knowledge the called parties do not wish to be called.



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         32.    Not a single call placed by Defendant to Plaintiff were placed for

 “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

         33.    Defendant willfully and/or knowingly violated the TCPA with respect to

 Plaintiff.

         34.    From each and every call placed without consent by Defendant to

 Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the

 intrusion upon his right of seclusion.

         35.    From each and every call without express consent placed by Defendant to

 Plaintiff’s cellular telephone, Plaintiff suffered the injury of occupation of his cellular

 telephone line and cellular telephone by unwelcome calls, making the telephone

 unavailable for legitimate callers or outgoing calls while the telephone was ringing from

 Defendant’s calls.

         36.    From each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of

 his time. For calls he answered, the time he spent on the call was unnecessary as he

 repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste

 time to unlock the telephone and deal with missed call notifications and call logs that

 reflected the unwanted calls. This also impaired the usefulness of these features of

 Plaintiff’s cellular telephone, which are designed to inform the user of important missed

 communications.




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         37.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone was an injury in the form of a nuisance and annoyance to

 Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

 answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the

 telephone and deal with missed call notifications and call logs that reflected the unwanted

 calls. This also impaired the usefulness of these features of Plaintiff’s cellular telephone,

 which are designed to inform the user of important missed communications.

         38.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of

 Plaintiff’s cellular telephone’s battery power.

         39.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone where a voice message was left which occupied space in

 Plaintiff’s telephone or network.

         40.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel,

 namely his cellular telephone and his cellular telephone services.

         41.     As a result of the calls described above, Plaintiff suffered an invasion of

 privacy. Plaintiff was also affect in a personal and individualized way by stress,

 annoyance, and interference with his employment.

                                          COUNT I
                                   (Violation of the TCPA)

         42.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

 forty-one (41) as if fully set forth herein.


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         43.     Defendant willfully and/or knowingly violated the TCPA with respect to

 Plaintiff, especially for each of the auto-dialer calls made to Plaintiff’s cellular telephone

 after Plaintiff notified Defendant that he wished for the calls to stop.

         44.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

 cellular telephone using an automatic telephone dialing system or prerecorded or artificial

 voice without Plaintiff’s prior express consent in violation of federal law, including 47

 U.S.C § 227(b)(1)(A)(iii).

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

 triable and judgment against WELLS FARGO BANK, N.A. for statutory damages,

 punitive damages, actual damages, treble damages, enjoinder from further violations of

 these parts and any other such relief the arbitrator may deem just and proper.

                                          COUNT II
                                  (Violation of the FCCPA)

         45.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

 forty-one (41) as if fully set forth herein.

         46.     At all times relevant to this action Defendant is subject to and must abide

 by the laws of the State of Florida, including Florida Statute § 559.72.

         47.     Defendant has violated Florida Statute § 559.72(7) by willfully

 communicating with the debtor or any member of his or her family with such frequency

 as can reasonably be expected to harass the debtor or his or her family.

         48.     Defendant has violated Florida Statute § 559.72(7) by willfully engaging

 in other conduct which can reasonably be expected to abuse or harass the debtor or any

 member of his or her family.


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        49.     Defendant’s actions have directly and proximately resulted in Plaintiff’s

 prior and continuous sustaining of damages as described by Florida Statute § 559.77.

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

 triable and judgment against WELLS FARGO BANK, N.A. for statutory damages,

 punitive damages, actual damages, costs, interest, attorney fees, enjoinder from further

 violations of these parts and any other such relief the arbitrator may deem just and proper.

                                               Respectfully submitted,

                                              /s/ Jason R. Derry, Esquire
                                              Jason R. Derry, Esquire
                                              Florida Bar No.: 0036970
                                              Morgan & Morgan, Tampa, P.A.
                                              One Tampa City Center
                                              201 North Franklin Street, 7th Floor
                                              Tampa, FL 33602
                                              Telephone: (813) 223-5505
                                              Facsimile: (813) 257-0577
                                              jderry@ForThePeople.com
                                              jkneeland@ForThePeople.com
                                              Attorney for Plaintiff




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